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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 MEMPHIS DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,
 vs.
                                                             Case No. 2:09cr20314-2-RHC
 MYKISHA WILLIAMS
      Defendant,



                      ORDER GRANTING MOTION AND ORDERING
                        REFUND OF CASH APPEARANCE BOND


        This matter comes before the Court on a motion for refund of the cash appearance bond.

 It now appears that the defendant has complied with the requirements of said bond and orders of

 this Court.

        IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled

 and discharged; and, the Clerk is directed to issue a check on the Registry in the sum of

 $ 2,500.00 ,   payable to Sherrie S. Johnson at the address on file with the court.

 in full refund of the cash appearance bond posted herein.


                                               S/Robert H. Cleland
                                              ROBERT H. CLELAND
                                              UNITED STATES DISTRICT JUDGE

 Dated: June 12, 2012
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 I hereby certify that a copy of the foregoing document was mailed to counsel of record and/or
 pro se parties on this date, June 12, 2012, by electronic and/or ordinary mail.


                                              S/Lisa Wagner
                                             Case Manager and Deputy Clerk
                                             (313) 234-5522


 Approved.
 Thomas M. Gould, Clerk of Court

 BY: s/ Sandra McClain
     Deputy Clerk

 Date: June 1, 2012
